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                 CONTAINS HIGHLY CONFIDENTIAL INFORMATION
                       SUBJECT TO PROTECTIVE ORDER
                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF OKLAHOMA



 1) VIDEO GAMING TECHNOLOGIES, INC.,       )
                                           )
                                           )
             Plaintiff,                    )
                                           )
 v.                                        )   Case No. 4:17-cv-00454-GKF-jfj
                                           )
 1) CASTLE HILL STUDIOS LLC                )   REDACTED
    (d/b/a CASTLE HILL GAMING);            )
 2) CASTLE HILL HOLDING LLC                )
    (d/b/a CASTLE HILL GAMING); and        )
 3) IRONWORKS DEVELOPMENT, LLC             )
    (d/b/a CASTLE HILL GAMING)             )
                                           )
             Defendants.                   )


            PLAINTIFF’S MOTION AND BRIEF IN SUPPORT TO EXCLUDE
            THE TESTIMONY OF W. TODD SCHOETTELKOTTE IN PART
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          Plaintiff Video Gaming Technologies, Inc. (“VGT”) moves to exclude portions of the

   opinions of Castle Hill Gaming’s (“CHG”) damages expert, Todd Schoettelkotte, pursuant to

   Federal Rule of Evidence 702, Federal Rule of Civil Procedure 26(a)(2)(B), Daubert v. Merrell

   Dow Pharms., Inc., 509 U.S. 579 (1993), and the Protective Order in this case for the following

   reasons:

          •       Reliance on improperly withheld data relating to CHG’s financial

   information: Several of Mr. Schoettelkotte’s opinions are based on CHG financial data that

   CHG improperly withheld during fact discovery. VGT moved to compel precisely the type of

   financial data on which Mr. Schoettelkotte relies, but agreed to cancel a hearing on the motion

   when CHG promised that it would not rely on CHG financial information that had not been

   produced. See Dkt No. 114. Because Mr. Schoettelkotte’s report does precisely what CHG’s

   counsel agreed not to do, each of his opinions that rely on previously withheld CHG financial

   information should be excluded. This issue is discussed below in Section III.A.

          •       Reliance on VGT confidential information improperly obtained from CHG

   employees: Certain of Mr. Schoettelkotte’s opinions are based on VGT confidential information

   that Mr. Schoettelkotte obtained (with the assistance of CHG’s counsel) from Alan Roireau,

   VGT’s former head of software development who is now an officer at CHG. Although Mr.

   Schoettelkotte may rely on information provided by former VGT employees through discovery,

   neither he nor CHG’s counsel are allowed to obtain confidential VGT information from them

   outside discovery, which amounts to inducing former VGT employees to breach their

   confidentiality obligations to VGT (and arguably constitutes violations of ethical and other

   duties). Mr. Schoettelkotte’s opinions based on such improperly obtained VGT confidential

   information should be excluded. This issue is discussed below in Section III.B.
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          •       Additional violation of Protective Order: CHG disclosed VGT confidential

   information to Mr. Schoettelkotte in violation of Section 7 of the Protective Order, which

   requires CHG to disclose to VGT in advance any persons who may access VGT confidential

   information and allow VGT an opportunity to object. CHG provided no such disclosure. VGT

   first learned of Mr. Schoettelkotte when CHG served his rebuttal expert report on August 31,

   approximately one month after he started accessing VGT confidential information. Although

   CHG asserts that this admitted violation of the Protective Order was inadvertent, at least one

   other court has stricken an expert report in its entirety in similar circumstances. Here, VGT

   seeks more narrow relief, which is to strike only those portions of Mr. Schoettelkotte’s report

   based on VGT’s confidential information. This issue is discussed below in Section III.C.

          •       Failure to meet the Daubert standard: More broadly, Mr. Schoettelkotte’s

   opinions regarding the portion of CHG’s revenues attributable to CHG’s use of VGT’s

   intellectual property (                of CHG’s profits) is not the result of reliable principles or

   methods. Even though his opinions relate to the value to CHG from using VGT’s intellectual

   property, Mr. Schoettelkotte does not cite any CHG data or documents to support his opinions.

   Moreover, notwithstanding differences between the scope of VGT’s trademark, trade dress, and

   trade secret claims, Mr. Schoettelkotte opines that the same range should apply to each type of

   intellectual property—i.e., the percentage of CHG’s revenue due to its infringement of VGT’s

   trademarks is the same as the percentage due to its infringement of VGT’s trade dress and

   misappropriation of VGT’s trade secrets. Mr. Schoettelkotte provides no support for this

   opinion. This issue is discussed below in Section III.D.




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                          SUBJECT TO PROTECTIVE ORDER
   I.     BACKGROUND

          VGT filed this lawsuit to seek redress for CHG’s infringement of its trademarks and trade

   dress and misappropriation of its trade secrets and confidential business information. The parties

   engaged in fact discovery relating to damages issues, including serving interrogatories and

   document requests relating to the revenue, costs, and profits for the CHG games at issue.

          On August 10, VGT served an opening report from its damages expert, Melissa Bennis.

   In her report, Ms. Bennis offered opinions regarding the damages to which VGT is entitled for

   each of the trademark, trade dress and trade secret/confidential business information claims.

   With respect to the trademark and trade dress claims, consistent with the terms of the Lanham

   Act providing for disgorgement of ill-gotten profits, Ms. Bennis identified CHG’s revenues from

   each accused game to calculate CHG’s profits from those games. Under the Lanham Act, the

   burden then shifts to CHG to prove any costs or deductions that should be made to these

   revenues. See 15 U.S.C. § 1117(a) (“In assessing profits the plaintiff shall be required to prove

   defendant’s sales only; defendant must prove all elements of cost or deduction claimed.”).1

          With respect to the misappropriation of trade secrets and confidential business

   information claims, Ms. Bennis offered opinions regarding the amount CHG was unjustly

   enriched as a result of research and development costs it avoided by using VGT trade secrets and

   confidential business information. As an alternative, she offered opinions regarding CHG’s

   profits from games developed using misappropriated trade secrets and confidential business

   information.



   1
     See, e.g., Gen. Steel Domestic Sales, LLC v. Chumley, 627 Fed. Appx. 682, 686–87 (10th Cir.
   2015) (noting that burden shifting framework is routinely used in trademark infringement cases)
   (citing multiple cases); Klein-Becker USA, LLC v. Englert, 711 F.3d 1153, 1163 (10th Cir. 2013)
   (apply Lanham Act’s burden-shifting approach to disgorgement of profits).


                                                   3
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            CHG did not serve any expert reports in the opening round, despite bearing the burden on

   cost deductions and apportionment.

            On August 31, however, CHG served a rebuttal report from Mr. Schoettelkotte. See Ex.

   A.2 This was the first time VGT learned of Mr. Schoettelkotte’s role in the case. Most of Mr.

   Schoettelkotte opinions focused on three topics: (1) costs incurred by CHG that he believes

   should be deducted when determining profits for purposes of the trademark and trade dress

   claims (the “Deduction Opinions”) (see id. ¶¶ 25-43); (2) adjustments that he believes should be

   made to the calculation of CHG’s avoided research and development costs attributable to

   misappropriation of trade secrets and confidential information (the “Avoided R&D Opinions”)

   (see id. ¶¶ 45-56); and (3) the portion of CHG’s revenues attributable to CHG’s use of VGT’s

   trademarks, trade dress and trade secrets (the “Apportionment Opinions”) (see id. ¶¶ 59-70).

            VGT took Mr. Schoettelkotte’s deposition on September 22. Attached as Exhibit B are

   excerpts from Mr. Schoettelkotte’s deposition relevant to this motion.

   II.      LEGAL STANDARD

            Under Federal Rule of Evidence 702, the proposed testimony of an expert witness is

   admissible only if (a) the expert’s scientific, technical, or other specialized knowledge will help

   the trier of fact to understand the evidence or to determine a fact in issue; (b) the testimony is

   based on sufficient facts or data; (c) the testimony is the product of reliable principles and

   methods; and (d) the expert has reliably applied the principle and methods to the facts of the

   case. See Daubert, 509 U.S. at 589-97. “The proponent of the expert’s opinion testimony bears

   the burden of establishing that the expert is qualified, that the methodology he or she uses to

   support his or her opinions is reliable, and that his or her opinion fits the facts of the case and


   2
       All citations to “Ex. __” are to the accompanying Declaration of Gary Rubman.

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   thus will be helpful to the jury.” SFF-TIR, LLC v. Stephenson, 250 F. Supp. 3d 856, 1001 (N.D.

   Okla. 2017).

          In addition, the Federal Rules require parties to disclose any witness who may be

   introduced at trial, as well as a written report containing “a complete statement of all opinions

   the witness will express and the basis and reasons for them [and] the facts or data considered by

   the witness in forming them.” Bales v. Green, No. 16-CV-106-GKF-JFJ, 2018 WL 1633321, at

   *2 (N.D. Okla. Mar. 27, 2018).

   III.   ARGUMENT

          A.      Mr. Schoettelkotte’s Opinions Based on Improperly Withheld CHG
                  Financial Information Should Be Stricken.

                  1.       VGT Diligently Sought CHG Financial Information For More Than a
                           Year.

          Since the earliest stages of discovery, VGT has requested financial information from

   CHG relevant to the damages issues in this case, including information about the revenue, costs,

   and profits attributable to CHG’s accused games. More than one year ago—on September 25,

   2017—VGT requested documents sufficient to show “the gross and net profits realized by CHG,

   directly or indirectly, for each of the [accused games].” Ex. C at Request No. 40; see also id. at

   Request No. 39 (documents sufficient to show revenues of accused games). In responses served

   on November 22, CHG initially refused to produce any responsive documents. Ex. D at 14-15.

   More than two months later (on January 29), CHG served amended responses in which it agreed

   to search for and produce responsive documents. Ex. E at 17-18.

          When CHG failed to produce its financial information, a lengthy meet and confer process

   ensued. See, e.g., Ex. F (email chain between VGT and CHG counsel). On May 25, after it

   became clear that CHG would not be producing the information in response to VGT’s document

   requests, VGT served Interrogatory No. 23, which requested, inter alia, revenue, “all direct,

                                                    5
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  indirect, variable, fixed and overhead costs,” and “all gross, operative, pre-tax and net profits

  realized by CHG” for the accused games. See Ex. G. In its response, relying on Fed. R. Civ. P.

  33(d), CHG identified previously produced documents that contain portions of the information

  requested in Interrogatory No. 23 and stated that it would be producing additional responsive

  documents. See Ex. H.

         When CHG again failed to produce the detailed financial information VGT had

  requested, another meet and confer process ensued. See Ex. I (email chain between VGT and

  CHG counsel). Although CHG ultimately agreed to provide updated information before a

  deposition on financial topics scheduled to take place July 12, see id. at 1, CHG did not do so.

  After further efforts failed, on July 30 VGT moved to compel CHG to respond to several

  discovery requests, including Interrogatory No. 23. See Dkt. No. 105. As VGT explained in that

  motion, “[t]o the extent Interrogatory No. 23 covers any financial information on which

  Defendants may rely, it must be produced now.” Id. at 5.

         The next day, CHG served four documents containing additional financial information

  and a supplemental response to Interrogatory No. 23 in which it added Bates numbers for those

  four documents. CHG then informed the Court that VGT’s motion to compel with respect to

  Interrogatory No. 23 was “moot” in light of the recently produced documents. Dkt. No. 110 at 5-

  6.

         The Court scheduled a hearing on VGT’s motion to compel for September 2. Before that

  hearing, VGT offered to cancel the hearing if CHG confirmed that its recent document

  production and supplemental response “reflect all responsive information that Defendants have

  and that Defendants will not be relying on any information that is responsive to [VGT’s requests]

  that Defendants have withheld.” Ex. J, Email from G. Rubman to CHG counsel (Aug. 2, 2018).



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  After CHG’s counsel confirmed that CHG was not withholding responsive information, id.

  (Email from B. Gill to G. Rubman), VGT informed the Court that the hearing could be cancelled.

  See Dkt. No. 114 (“Based on VGT’s understanding that Defendants have provided the

  confirmation VGT requested, VGT believes the hearing scheduled for this afternoon on the

  motion to compel can be cancelled.”).

         CHG did not inform VGT or the Court that it was continuing to withhold responsive

  financial data on which it intended to rely.

                 2.       Schedule 11A of Mr. Schoettelkotte’s Report Is Based on Improperly
                          Withheld CHG Financial Information.

         Less than one month after VGT agreed to cancel the motion to compel hearing, VGT was

  surprised when CHG served a rebuttal report from Mr. Schoettelkotte that relies on CHG

  financial information responsive to Interrogatory No. 23 that was not previously produced.3 Mr.

  Schoettelkotte’s Deduction Opinions relied on interrelated schedules appended to his report,

  including Schedule 11A, titled

                         Ex. K (Schedule 11A from Schoettelkotte’s report). Schedule 11A contains



                                                                                       Id.

         Unlike many other schedules in his report, Mr. Schoettelkotte did not identify any Bates

  numbers in Schedule 11A. Rather, he identifies the source as simply                        Id.4

  Mr. Schoettelkotte testified at his deposition that he



  3
    VGT also was surprised given that CHG had never previously disclosed Mr. Schoettelkotte, as
  required by the Protective Order. See infra Section II.C.
  4
    Mr. Schoettelkotte acknowledges in his report that he “reviewed and considered documents and
  data that CHG has produced, or that will be produced as part of this report…” Ex. A, Rpt. ¶ 8
  (emphasis added).

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                                                                       . See Ex. B, Dep. Tr.

  250:16-24.                                                         , id. at 251:4-14, but believes

  it                                                                 Id. at 251:15-252:2. CHG’s

  counsel then jumped in:

               Id. at 252:3-4.

         Following the deposition, VGT sent emails seeking confirmation that the financial

  information in Schedule 11A was not previously produced. See Ex. L (Email chain between G.

  Rubman and B. Gill). On October 2, CHG finally admitted that it was not. See Ex. M, Email

  from B. Gill to G. Rubman (Oct. 2, 2018). In an apparent attempt to justify CHG’s conduct,

  counsel asserted that the “document did not exist during the discovery period.” Id. CHG’s

  counsel made this statement even though Schedule 11A

                                 . See Ex. K (Schedule 11 A). Indeed

                                  the August 3, 2018 close of fact discovery. See id.

         The financial information contained in Schedule 11A is precisely the type of information

  VGT requested in Interrogatory No. 23, among other requests, see Ex. G (requesting information

  about “all direct, indirect, fixed and overhead costs” associated with CHG’s accused games), and

  at issue in VGT’s motion to compel.

                 3.       Mr. Schoettelkotte’s Opinions Based on Schedule 11A Should Be
                          Stricken.

         There are at least three reasons why the Court should strike Schedule 11A and all

  opinions that depend on the information in Schedule 11A.5




  5
   In addition to Schedule 11A itself, VGT believes this includes Schedules 3, 3.1, 3B, 3C, 3C.1,
  3D, 3D.1, 4, 4.1, 4B, 4C, 4C.1, 5, 5.1, 5B, 5C, 5C.1, 5D, 5D.1, 6, 6.1, 6B, 7, 7.1, 7C, 7D, and 9,
  as well as any opinions of Mr. Schoettelkotte that rely on those schedules.

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         First, VGT went to great lengths to get this type of CHG financial information during fact

  discovery—including moving to compel—but CHG repeatedly dragged its feet and ultimately

  represented that it had produced all such information on which it would be relying. See Ex. J, B.

  Gill email to G. Rubman (Aug. 2, 2018); Dkt. No. 114. As noted, CHG even represented to the

  Court that VGT’s motion to compel a further response to Interrogatory No. 23 was “moot” in

  light of its recently produced documents and supplemental response. See Dkt. No. 110 at 5-6.

  Having made these assurances, on which VGT relied in withdrawing the motion to compel, CHG

  should not be permitted to provide its expert the very materials and information at issue in that

  motion.

         Second, by withholding the financial information until nearly a month after the close of

  fact discovery, CHG prejudiced VGT’s ability to take discovery relating to that information.

  VGT was not able to inquire as to, among other things, where it came from, how it was collected,

  and what was included or excluded.

                                                                           VGT was never allowed

  such an opportunity because it had taken his deposition before it was aware of this information.

  See, e.g., Ex. A, Rpt. ¶¶ 42, 44

                                                                     .

         Third, neither CHG nor Mr. Schoettelkotte produced the underlying data that was used as

  the source of the information in Schedule 11A, contrary to Federal Rule of Civil Procedure

  26(a)(2)(B), which requires expert reports to “contain a complete statement of all opinions to be

  expressed and the basis and reasons therefor” as well as “the data or other information




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           Under Oklahoma law, it is unlawful for a person to intentionally interfere with

  contractual or business relationships. See Wilspec Techs., Inc. v. DunAn Holding Grp., 204 P.3d

  69, 74 (Okla. 2009) (establishing elements of intentional interference claim). Moreover, the

  Oklahoma Rules of Professional Conduct prohibit counsel from using methods of obtaining

  evidence that violate the legal rights of a third party, such as VGT. See Okla. R. Prof. Cond.

  4.4(a) (“In representing a client, a lawyer shall not … use methods of obtaining evidence that

  violate the legal rights of a [third party].”); see also Okla. R. Prof. Cond. 4.2 at comment #7 (“In

  communicating with a current or former constituent of an organization, a lawyer must not use

  methods of obtaining evidence that violate the legal rights of the organization.”) (citing Rule

  4.4).8

           Here, however, Mr. Schoettelkotte and CHG’s counsel knowingly obtained confidential

  VGT information from

                       .

           During fact discovery, CHG had opportunities to ask Mr. Roireau about knowledge he

  may have regarding VGT’s development of its Class II bingo engine. Three CHG lawyers

  attended his May 15 deposition when VGT questioned him on these issues, but although a CHG

  lawyer asked Mr. Roireau questions after VGT completed its questioning, none of the questions




  8
    The Protective Order in this case confirms that it is not intended to “relieve, change or
  otherwise affect any obligations or limitations imposed on any person by contract or law
  regarding the disclosure or use of trade secrets or other confidential or proprietary information.”
  Dkt. No. 55 at 4(b)(iii).

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  at *1 (E.D. Tex. June 28, 2011). Sandoz properly disclosed each of its other experts (as CHG

  has done here), but failed to disclose one expert “through an inadvertent oversight.” Id.

         Emphasizing the importance of deterring similar conduct in the future, the court

  concluded that Sandoz’s protective order violation constituted a discovery abuse and struck the

  expert report as a sanction.11 Id. at *2-3.

         For many of the same reasons discussed in Allergan, the portions of Mr. Schoettelkotte’s

  report based on VGT confidential information should be stricken.12

         First, as in Allergan, CHG was “well aware of the process and the importance of

  compliance with the [Protective] Order, and disclosed [] other experts under the Protective

  Order.” Id. at *2. CHG had no legitimate reason to violate the Protective Order with respect to

  Mr. Schoettelkotte. As the Allergan court noted, “condoning Defendants’ ‘inadvertent oversight’

  would undermine the Court’s integrity and ability to enforce its own rules.” Id. at *2.

         Second, as in Allergan, the portions of Mr. Schoettelkotte’s report that VGT seeks to

  strike are “not absolutely critical for Defendant’s case.” Id. Granting the relief VGT seeks will

  have no effect on Mr. Schoettelkotte’s Deductions Opinions or Avoided R&D Opinions, which



  11
    As the court in Allergan noted, the Court has inherent powers to award sanctions, and Federal
  Rule of Civil Procedure 37 authorizes district courts to impose sanctions for failure to comply
  with discovery orders, such as protective orders. See Allergan, 2011 WL 2563238, at *1-2. The
  remedies for failure to comply with an order include “directing that . . . designated facts be taken
  as established for purposes of the action,” “prohibiting the disobedient party from … introducing
  designated matters in evidence,” and “dismissing the action or proceeding in whole or in part.”
  Fed. R. Civ. P. 37(b)(2)(A); see Roadway Express, Inc. v. Piper, 447 U.S. 752, 763 (1980)
  (“Rule 37 sanctions must be applied diligently both ‘to penalize those whose conduct may be
  deemed to warrant such a sanction, [and] to deter those who might be tempted to such conduct in
  the absence of such a deterrent.’”).
  12
    Although the court in Allergan struck the entire expert report, here VGT seeks to strike only
  those portions based on VGT’s confidential information. VGT submits that the requested
  remedy is narrowly tailored to address CHG’s violation, as Mr. Schoettelkotte was allowed to
  view CHG’s confidential information before being disclosed.


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  are based almost entirely on CHG or public information.13 With respect to Mr. Schoettelkotte’s

  Apportionment Opinions, granting the relief will not affect the primary basis for his opinion

                                                                               , but it will prevent

  him from relying on confidential documents from VGT that Mr. Schoettelkotte appears to be

  using to corroborate the opinions he formed                                        . See Ex. A,

  Rpt. ¶¶ 61-68 (                                                    ).

         Third, VGT was prejudiced by CHG’s failure to disclose Mr. Schoettelkotte. This case

  involves valuable trade secrets. VGT, like any other party to litigation, should be allowed to rely

  on the Protective Orders to safeguard its information, including by being given advance notice of

  any persons seeking access to its confidential information. See, e.g., Foltz v. State Farm Mut.

  Auto Inc. Co., 331 F.3d 1122, 1137 (9th Cir. 2003) (“Among the goals furthered by protective

  orders is reducing conflict over discovery and facilitating the flow of information through

  discovery. Where that has happened, changing the ground rules later is to be avoided because

  protective orders that cannot be relied upon will not foster cooperation through discovery.”)

  (quoting Wright, Miller & Marcus § 2044.1). Moreover, by keeping Mr. Schoettelkotte’s role in

  the case a secret for so many months, CHG deprived VGT of time to research Mr.

  Schoettelkotte’s qualifications and prior opinions. Indeed, before receiving Mr. Schottelkotte’s

  report, VGT had assumed that CHG had chosen not to use a damages expert.

         Fourth, and finally, CHG should not be permitted to identify a new damages expert if it

  seeks to do so. Expert discovery has been completed and trial is only a few months away. The




  13
    Aspects of the Avoided R&D Opinions are the subject of a separate argument to strike. See
  Section II.B.


                                                  16
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  appropriate remedy for CHG’s protective order violation is to strike those portions of Mr.

  Schoettelkotte’s report based on VGT confidential information.14

         D.      Mr. Schoettelkotte’s Apportionment Opinion Is Unreliable and Does Not
                 Satisfy The Daubert Standard.

         Mr. Schoettelkotte’s Apportionment Opinion—which is intended to approximate the

  portion of CHG’s revenues from the accused games attributable to CHG’s use of VGT’s

  trademarks, trade dress and trade secrets, as opposed to other factors—is based on unreliable

  principles and methodologies that do not pass muster under Daubert.

         Even though the purpose of a typical apportionment analysis is to determine the value to

  the accused infringer (here, CHG) from using the intellectual property,



                                                                                   . Indeed, in

  discussing his Apportionment Opinion, Mr. Schoettelkotte



                              . By forming his Apportionment Opinion in a vacuum—without

  discussing the unique circumstances relating to the accused infringer (CHG)—Mr. Schoettelkotte

  apparently would have reached the same opinions regardless of the identity or circumstances of

  the accused infringer, which plainly cannot be the case.

         Moreover, although he acknowledges that

                                                , see Ex. A, Rpt. ¶¶ 20, 23, 24, Mr. Schoettelkotte

  opines that




  14
    The paragraphs that refer to VGT confidential information include paragraphs 54-56 and 61-
  68.

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         Finally, the unreliable nature of Mr. Schoettelkotte’s methodology becomes even more

  apparent when it is applied to                                                     . As noted, Mr.

  Schoettelkotte appears to believe that




  Of course, none of these conclusions make sense. Mr. Schoettelkotte’s attempt to combine

  concepts




                                                        .

         “An expert’s testimony may be excluded where it is based on subjective beliefs or

  unsupported speculation which is no more than ipse dixit guesswork.” Skycam, Inc. v. Bennett,

  2011 WL 2551188, at *3 (N.D. Okla. June 27, 2011); Gen. Elec. Co. v. Joiner, 522 U.S. 136,

  146 (1997) (“But nothing in either Daubert or the Federal Rules of Evidence requires a district

  court to admit opinion evidence that is connected to existing data only by the ipse dixit of the

  expert. A court may conclude that there is simply too great an analytical gap between the data

  and the opinion proffered.”); Dodge v. Cotter Corp., 328 F.3d 1212, 1222 (10th Cir. 2003)

  (“Generally, the district court should focus on an expert’s methodology rather than the

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  conclusions it generates.”); see also Witherspoon, 2005 WL 5988649, at *3 (“[A] court should

  determine whether the witness’s conclusion represents an unfounded extrapolation from the

  data.”).

             Where, as here, an expert’s method is novel or employed in a new way, “a district court

  may require further indications of reliability.” Attorney Gen. of Okla. v. Tyson Foods, Inc., 565

  F.3d 769, 780 (10th Cir. 2009). Mr. Schoettelkotte has provided no such indications of

  reliability and, as discussed above, there is strong evidence to the contrary. Having provided no

  support for his assumptions, Mr. Schoettelkotte is asking the factfinder to simply accept his

  speculation at face value. This is not good enough. See Goebel v. Denver and Rio Grande W.

  R.R. Co., 215 F.3d 1083, 1088 (10th Cir. 2000) (“It is axiomatic that an expert, no matter how

  good his credentials, is not permitted to speculate.”). Mr. Schoettelkotte’s Apportionment

  Opinions should be excluded in their entirety.

  IV.        CONCLUSION

             For the foregoing reasons, Plaintiff’s Motion to Exclude the Testimony of W. Todd

  Schoettelkotte in Part should be granted.

  October 12, 2018                                Respectfully submitted,

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                                   CERTIFICATE OF SERVICE

         I hereby certify that on October 12, 2018, I caused an unredacted copy of the foregoing

  Plaintiff’s Motion to Exclude the Testimony of W. Todd Schoettelkotte in Part to be served on

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